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                            EXHIBIT 1
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       Notice to Flores v. Barr Class Members for Motion for Attorneys’ Fees

   This notice is being given to individuals who:

      • are members of the class covered by the Flores Settlement Agreement
        (“Agreement”), and are in immigration detention in Immigration and
        Customs Enforcement (“ICE”) family residential centers

   This notice is to inform you of a motion for attorneys’ fees in a class action lawsuit
   called Flores v. Barr, No. CV 85-04544 DMG ARG (C.D. Cal.). The Flores
   lawsuit resulted in a Settlement Agreement that sets minimum national standards
   for the detention, release, treatment and housing of children detained by CBP,
   ORR, and ICE.

   On June 21, 2018 the Government filed an Ex Parte Application for Limited Relief
   from the Agreement asking the Court on an emergency basis to modify the
   Agreement.

   On July 09, 2018 the Court denied the Governments’ Ex Parte application.

   Plaintiffs’ Counsel have asked the Court to award them attorneys’ fees in the
   amount of $42,359.00 to compensate them for their defense of Defendants’
   motion. If you wish, you may object to Plaintiffs’ Counsel’s request for fees by
   submitting your objection in writing, via regular or electronic mail, to Plaintiffs’
   Counsel, who will then file the objections with the Court.

   Nothing stated in this notice waives or modifies the parties’ rights or obligations.
   If you choose to object to the request for fees, you must direct your objection to:

   Peter Schey
   Center for Human Rights and Constitutional Law
   256 S. Occidental Blvd.
   Los Angeles, CA 90057
   pschey@centerforhumanrights.org

   To be timely, your objection must be received no later than __________.
   If you do not make your objection by that date, you will lose your right to object.
